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                                   2                                UNITED STATES DISTRICT COURT

                                   3                             NORTHERN DISTRICT OF CALIFORNIA

                                   4                                         SAN JOSE DIVISION

                                   5
                                         IN RE GOOGLE DIGITAL
                                   6     ADVERTISING ANTITRUST                              Case No. 20-cv-03556-BLF
                                   7     LITIGATION
                                                                                            Case No. 20-cv-08984-HSG
                                   8                                                        Case No. 20-cv-09092-BLF
                                   9     SWEEPSTAKES TODAY, LLC,                            Case No. 20-cv-09321-VC
                                                  Plaintiff,
                                  10          v.                                            Case No. 21-cv-00022-DMR
                                  11
                                         GOOGLE LLC, et al.,                                ORDER ON MOTIONS TO RELATE
                                  12              Defendants.                               AT ECF 55, 57, 61, 64
Northern District of California
 United States District Court




                                  13     GENIUS MEDIA GROUP, INC., et al.,
                                                   Plaintiffs,
                                  14          v.
                                  15
                                         ALPHABET INC.,, et al.,
                                  16               Defendants.

                                  17     STERLING INTERNATIONAL
                                         CONSULTING GROUP,
                                  18                Plaintiff,
                                               v.
                                  19

                                  20     GOOGLE LLC,
                                                  Defendant.
                                  21
                                         MARK J. ASTARITA,
                                  22                Plaintiff,
                                              v.
                                  23

                                  24     GOOGLE LLC, et al.,
                                                  Defendants.
                                  25

                                  26
                                              Defendant Google LLC has filed several administrative motions asking this court to relate
                                  27
                                       later-filed cases to the present case, In re Google Digital Advertising Antitrust Litigation, No. 20-
                                  28
                                           Case 5:20-cv-03556-BLF Document 69 Filed 01/22/21 Page 2 of 2




                                   1   cv-03556-BLF. See ECF 55, 57, 61, 64. Those cases are: Sweepstakes Today, LLC v. Google,

                                   2   LLC, et al., 20-cv-08984-HSG, Genius Media Group, Inc., et al., v. Google, LLC, et al., 20-cv-

                                   3   09092-BLF, Sterling International Consulting Group v. Google LLC, 20-cv-09321-VC, and

                                   4   Astarita v. Google LLC, et al., 21-cv-00022-DMR. The Court has reviewed all the cases and finds

                                   5   that the proposed classes and market definitions share significant overlap to the present case such

                                   6   that relation is appropriate. As such, the Court REALTES the aforementioned cases to the above-

                                   7   captioned case.

                                   8          IT IS SO ORDERED.

                                   9   Dated: January 22, 2021

                                  10                                                   ______________________________________
                                                                                       BETH LABSON FREEMAN
                                  11                                                   United States District Judge
                                  12
Northern District of California
 United States District Court




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